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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 13–cv–03309–REB–KMT

   MARTIN THOMAS WIRTH,

   Plaintiff,

   v.

   JOHN HICKENLOOPER, et al,

           Defendant.

    ORDER RE: MOTION TO DISMISS FIFTH AMENDED COMPLAINT PURSUANT TO
                     FED. R. CIV. P. 12(b)(1) and 12(b)(6)


           THE COURT, having reviewed the Motion to Dismiss Fifth Amended Complaint

   Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) filed by defendants, Nationstar

   Mortgage, LLC and Jay Bray (the “Motion”), and being sufficiently advised in its

   premises and finding good cause therefore,

           IT IS HEREBY ORDERED that the Motion is GRANTED and that the plaintiff’s

   fifth amended complaint is DISMISSED in its entirety.

           IT IS FURTHER ORDERED that the Plaintiff is denied leave to further amend his

   complaint in this action.


           Dated this ____ day of _________, 2014.


                                           BY THE COURT


                                           ________________________________
                                           District Court Judge
